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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION


 CANDICE TUTTLE,

                 Plaintiff,                               CIVIL ACTION NO.: 4:24-CV-
                                                    00110-RSB-CLR

        v.

 TRIAGELOGIC, LLC,

                 Defendant.


                                      RULE 26(f) REPORT

       The attorney(s) and/or unrepresented parties listed below certify that:
             1) they have read the Court’s Rule 26 Instruction Order entered in this case;
             2) they have held a conference, in person or telephonically, pursuant to Federal Rule
                of Civil Procedure 26(f); and

             3) they have discussed the case and jointly prepared the following Rule 26(f) Report.

       Identify, for each party, the attorney(s) and/or unrepresented parties who attended the Rule
26(f) Conference, the counsel or unrepresented parties who participated in preparing the Rule 26(f)
Report, and the date of the Rule 26(f) Conference:

       September 6, 2024
       Clela A. Errington (Counsel for Plaintiff)
       Michael Elkon (Counsel for Defendant)
       David Lerner (Counsel for Defendant)
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I.    INITIAL MATTERS:

      A. Jurisdiction and Venue

         The defendant(s)

               ☐ does         ☒ does not

         contest jurisdiction and/or venue (for multiple defendants, identify which defendants
         contest jurisdiction and/or venue). If contested, such position is because:

         1) Jurisdiction:
         n/a
         2) Venue:
         n/a

      B. Immunity

         The defendant(s)

               ☐ has raised         ☐ will raise         ☒ will not raise

         an immunity defense based on:
         n/a




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 C. Stay of Discovery Due to Motion to Dismiss, Transfer, or Remand

    If a motion to dismiss, transfer, or remand has been or will be filed, or if any party will
    otherwise raise an initial defense including lack of jurisdiction, improper venue, or
    immunity, state whether the parties wish to delay proceeding with discovery until those
    issues have been decided. If so, state (i) the earliest a motion to dismiss or transfer will
    be filed; and (ii) what, if any, initial discovery, limited to that issue, will be necessary
    to resolve the motion.

    Should any party seek a stay of discovery due to the filing of a motion to dismiss, the
    party must file a motion to stay and state within the motion whether the other parties
    join in, consent to, or oppose the motion.

    The Court received this matter pursuant to a transfer Order from the Northern District
    of Georgia on June 4, 2024. The Court ruled on Defendant’s Motion to Dismiss
    Plaintiff’s state law claims on August 9, 2024. Neither party intends to file any further
    motions to dismiss, transfer, or remand, or to otherwise raise a challenge that requires
    a stay of discovery.




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II.    SETTLEMENT:

       A. Settlement Efforts to Date

          The parties state:

                ☒    They have not yet taken any efforts to resolve this dispute.

                ☐    They have taken efforts to resolve this dispute, and those efforts generally
                     consisted of:

          Both parties are amenable to settlement. Plaintiff’s counsel has stated that she will
          submit a demand letter within 21 days of the 26(f) conference, and the parties will
          continue to discuss potential settlement and/or mediation options following receipt of
          initial demand.


       B. Early Settlement Discussion

          Counsel certify that, as required by the Rule 26 Instruction Order, they have discussed
          the potential for settlement between themselves and explored early involvement in
          alternative dispute resolution with their clients, and:

                ☒    The parties are prepared to discuss settlement with the Court at this time.

                ☐    The parties will not be prepared to discuss settlement until:     .

          If the parties will not be prepared to discuss settlement until a later date, explain why,
          including what, if any, discovery the parties need in order to discuss settlement:

          n/a




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III.    INITIAL DISCLOSURES AND SCHEDULING CONFERENCE:

        A. Initial Disclosures

           Rule 26(a)(1) disclosures:

                 ☐ have been completed.        ☒ will be completed by September 27, 2024.

           Unless otherwise ordered, mandatory disclosures required by Federal Rule of Civil
           Procedure 26(a)(1) must be made within fourteen (14) days of the parties’ Rule 26(f)
           Conference. If any party is requesting additional time to provide disclosures, please
           explain why:

           n/a


        B. Scheduling Conference

           As explained in the Rule 26 Instruction Order, the Court may hold a Scheduling
           Conference (to be attended only by counsel and any unrepresented parties) before
           entering a Scheduling Order. Ordinarily, the Court will allow appearance via
           telephone. If any party is requesting that the Court hold a Scheduling Conference prior
           to the issuance of a Scheduling Order, please state so below:

           n/a


           If a Scheduling Conference is necessary, it should be held no more than twenty (20)
           days after the submission of this Report. Should the Court deem a scheduling
           conference necessary, the parties are available for a Scheduling Conference on the
           following dates (if any party is not available until after the 20-day time period, please
           explain why):

           The parties will make themselves available for a scheduling conference as needed. The
           parties respectfully request that, if a scheduling conference is deemed necessary, that
           the parties may attend virtually.




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IV.    DISCOVERY

       Discovery will proceed more effectively and efficiently if the parties address discovery in
       the following sequential order:

             First: Accomplishing all fact-based written discovery, inspections, and
                    examinations under Rules 33 through 36 of the Federal Rules of Civil
                    Procedure, as well as the subpoena of documents, electronically stored
                    information, and other tangible things from third parties under Federal Rule
                    of Civil Procedure 45(d)(2);

          Second: Conducting discovery depositions of fact witnesses who have not been
                  designated as experts;

            Third: Making all expert disclosures; and

          Fourth: Conducting all expert depositions.

       Unless the parties show good cause to proceed otherwise, the parties must propose
       discovery deadlines that follow this sequential course. In other words, absent a
       specific showing of good cause, the parties should not propose one deadline to
       accomplish all discovery measures. Rather, the parties must propose sequential
       deadlines by which they shall successively accomplish each of the above four areas of
       discovery.

       If any party proposes discovery deadlines that do not follow the sequential schedule laid
       out above, please state the reason(s) why.

       The parties agree to the staged discovery process outlined above, but they further agree
       that they may continue to engage in fact discovery during the expert period.
       Additionally, pursuant to Local Rule 26.1(d), the parties must complete all discovery
       within 140 days of the last answer of the defendants named in the original complaint.
       However, the Court will provide additional time upon a showing of good cause.

       If any party proposes discovery deadlines that extend beyond the 140-day period, please
       state the reason(s) why.

       The parties do not anticipate needing additional time beyond the 140-day period for
       discovery. The parties calculate the 140-day period from the date of Defendant’s answer
       to the Complaint following the Court’s order on Defendant’s prior Motion to Dismiss
       Plaintiff’s state law claims. The 140-day period is thus measured from August 23, 2024,
       through and including January 10, 2025. The parties also reserve the right to seek an
       extension of the discovery period should that become necessary. To the extent that there
       is a reasonable need for a discovery extension, including (but not limited to) because the


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 case becomes more document intensive than anticipated or to allow additional time to
 obtain relevant documents and/or take depositions, the parties agree to work together to
 obtain an extension.




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 A. Fact-Based Written Discovery, Inspections, and Examinations

   i.   Written discovery, inspections, and examinations under Rules 33 through 36 of the
        Federal Rules of Civil Procedure will be completed by January 10, 2025.

  ii.   The maximum number of interrogatories, including sub-parts, which may be served
        by any party on any other party, is: 25.

        If any party seeks to exceed the limit of twenty-five (25) interrogatories set by
        Federal Rule of Civil Procedure 33(a)(1), please state why:

        n/a

 iii.   Will any party seek to conduct any inspections of any land, premises, or other
        property under Federal Rule of Civil Procedure 34(a)(2) or 45(d)(2)? No

        If yes, please describe the anticipated inspection(s) and state whether the
        inspection(s) should occur during the expert discovery period rather than during
        fact-based discovery.

        n/a

  iv.   Will any party seek to conduct any physical or mental examinations under Federal
        Rule of Civil Procedure 35? No

        If yes, please describe the anticipated examination(s) and state whether the
        examination(s) should occur during the expert discovery period rather than during
        fact-based discovery.

        n/a




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 B. Depositions of Non-Expert Witnesses

   i.   Discovery depositions of witnesses who have not been designated as experts
        will be completed by: January 10, 2025.

  ii.   The maximum number of depositions (including all expert and non-expert) that
        may be taken by a party is: 10.

        If any party seeks to exceed the limit of ten (10) depositions set by Federal Rule
        of Civil Procedure 30(a)(2)(A)(i), please state why:

        n/a


 iii.   Depositions will be limited in duration by Federal Rule of Civil
        Procedure 30(d)(1), except the depositions of:

        n/a
        which, by agreement, shall be limited as follows:
        n/a




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 C. Expert Discovery

    i.   Does the plaintiff(s) anticipate designating, calling, or otherwise relying upon any
         expert witnesses? Yes

  ii.    Does the defendant(s) anticipate designating, calling, or otherwise relying upon
         any expert witnesses? Yes

  iii.   Plaintiff(s) shall serve any and all expert reports required by Federal Rule of Civil
         Procedure 26(a)(2)(B) and any and all disclosures required by Federal Rule of
         Civil Procedure 26(a)(2)(C) by January 10, 2025.

  iv.    Defendant(s) shall serve any and all expert reports required by Federal Rule of
         Civil Procedure 26(a)(2)(B) and any and all disclosures required by Federal Rule
         of Civil Procedure 26(a)(2)(C) by January 10, 2025.

   v.    The parties shall conduct any and all discovery depositions of witnesses who have
         been designated as experts by January 10, 2025.

         If any party anticipates any problems regarding expert discovery or any unique
         circumstances that the Court should be aware of regarding expert discovery,
         please explain:

         n/a




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 D. Agreed Discovery Procedures

   i.   Unique Circumstances

        Are there any facts or circumstances unique to this case that will make fact or
        expert discovery more difficult or more time consuming? If so, please explain
        such facts and circumstances and the actions the parties have agreed upon to
        address them:

        n/a



  ii.   Phased Discovery

        Does any party propose that discovery be limited or proceed in phases? If so,
        please list each party making such a proposal and briefly explain the party’s
        proposal:

        (Phased discovery denotes discovery into one issue or set of facts first and then
        discovery into other issues or set of facts at a later time. Phased discovery does
        not include addressing fact-based discovery first and expert discovery thereafter.
        As explained above, sequentially addressing fact-based discovery measures first
        and expert discovery thereafter should be the normal course.)

        n/a




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 E. Third-Party Discovery

       Does any party anticipate that it will request a substantial amount of discovery,
       including the production of documents and other tangible things, from any
       individual or entity that is not a party to this action? No

       If so, please describe (i) any such third party and the discovery to be sought, (ii)
       any difficulties the parties anticipate in obtaining discovery from the third party,
       and (iii) whether the third party should participate in the scheduling conference.

       n/a




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 F. Electronically Stored Information

     By signing below, the parties certify that they have conferred together regarding the
     preservation and production of electronically stored information that may be relevant
     to the disposition of this suit as specifically required by the Rule 26 Instruction Order.
     The parties are prepared to discuss discovery of electronically stored information with
     the Court at the Rule 26 Instruction Conference.

    i.   Do the parties anticipate any disagreements about electronic discovery? If so,
         please explain:

         The parties are cooperatively working together to determine the scope of production
         of electronically stored information. The parties consent to electronic service of
         discovery, including but not limited to discovery requests, responses to discovery
         requests, document production, and court-rquired disclosures.


  ii.    Do the parties anticipate that any special provisions are needed in the Scheduling
         Order with respect to electronic discovery? If so, please explain:

         The parties agree to exchange all discovery electronically, and that all electronically
         stored information will be produced in native format and/or searchable PDFs as
         appropriate based on the nature of the document. The parties further agree to
         continue to meet and confer in good faith regarding the format for production of
         electronically stored information as the parties determine the size and scope of
         production, including whether PDF documents can and should be produced in
         native format.


  iii.   Do the parties otherwise seek to bring any issue regarding electronic discovery to
         the Court’s attention? If so, please explain:

         n/a




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 G. Privileged, Protected, and/or Confidential Communications and Information

     The parties certify that they have conferred together regarding any documents or
     information withheld due to claims of privilege, confidentiality, or other protections
     as required by the Rule 26 Instruction Order.

    i.   Have the parties reached an agreement regarding the procedures for asserting
         claims of privilege, confidentiality, or protection? Yes

         If so, please briefly describe such agreement:

         The parties anticipate the potential need for a protective order to protect the
         confidentiality of information produced during discovery relating to confidential
         business-related information, information concerning non-parties to this lawsuit,
         and medical/psychological records for Plaintiff.     Counsel for Defendant will
         provide a proposed protective order to Plaintiff’s Counsel.


  ii.    Are there terms of any agreement regarding privileged, protected, or confidential
         information that the parties wish to have memorialized in the Scheduling Order?

         Yes

         If so, please explain or attach any separate proposed order which the parties are
         requesting the Court to enter addressing such matters. Please include below, or in
         the attachment, a statement of good cause explaining the need for entry of such an
         order:

         The parties will submit a Joint Motion for Protective Order to the Court, including
         the agreed upon protective order terms.


  iii.   Are there any issues regarding claims of privilege, confidentiality, or protection
         as to which the parties have been unable to reach an agreement?

         No

         If so, please explain:

         n/a




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 H. Protected Health Information

    i.   Do the parties anticipate that this case will involve an individual’s medical records
         and/or protected health information, including any information that may be
         protected by the Health Insurance Portability and Accountability Act (HIPAA)
         and/or any state or federal privilege or protection for health information?

         Yes


  ii.    Has any individual whose protected health information could be relevant to this
         case executed a release allowing for counsel of the opposing party to obtain
         protected health information directly from health care providers?

         No


  iii.   Have the parties reached any agreements regarding the protection of such
         information including any agreements regarding the further disclosure of such
         information?

         Yes


  iv.    Are there terms of any agreement regarding protected health information that the
         parties wish to have memorialized in the scheduling order? No

         If so, please explain or attach any separate proposed order which the parties are
         requesting the Court to enter addressing such matters. Please include below, or in
         the attachment, a statement of good cause explaining the need for entry of such an
         order:

         n/a


   v.    Are there any issues regarding protected health information as to which the parties
         have been unable to reach an agreement? No

         If so, please explain:

         n/a




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V.    MOTIONS

      A. Motions to Amend the Pleadings or to Add Parties

        i. The plaintiff(s)         ☐ does          ☒ does not

           anticipate the need to amend pleadings or add parties. Any motions to amend
           pleadings shall be filed by Click here to enter a date..

       ii. The defendant(s)         ☐ does          ☒ does not

           anticipate the need to amend pleadings or add parties. Any motions to amend
           pleadings shall be filed by Click here to enter a date..

           If there are multiple defendants and less than all defendants anticipate needing to
           amend pleadings or add parties, please indicate which defendants so anticipate:

           n/a


       iii. By Local Rule 16.3, all motions to amend pleadings or add parties are to be filed
            within sixty (60) days after the first filing of an answer. If any party is requesting
            more than this time, please state the reason(s) why such time is necessary.

           The parties at this time do not anticipate that any additional amendments to the
           pleadings will be necessary. The parties, however, reserve the right to file such
           amendments as needed and in accordance with the Federal Rules of Civil Procedure,
           the Local Rules of this Court, and Judge Baker’s Standing Order.


      B. Civil Motions (Except Motions in Limine)

         All other motions, including motions for summary judgment and motions to exclude
         expert testimony on Daubert and other grounds (but excluding motions in limine),
         shall be filed by: February 10, 2025.

         If any party is requesting a deadline to file motions (other than motions in limine)
         more than thirty (30) days after the deadline to complete discovery, please state the
         reason why such time is necessary:

         n/a




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VII.    ADDITIONAL MATTERS

        Please state any other matters to which the parties stipulate and/or which the court should
        know or consider before entering the Scheduling Order:1

        n/a



Dated: October 8, 2024




Pro Se Party (if applicable)                               Pro Se Party (if applicable)



        /s/ Clela A. Errington                                     /s/ Michael P. Elkon
        Counsel for Plaintiff(s)                                   Counsel for Plaintiff(s)


        /s/ Click here to enter text.                              /s/ David Lerner
        Counsel for Plaintiff(s)                                   Counsel for Plaintiff(s)


        /s/ Click here to enter text.                              /s/ Click here to enter text.
        Counsel for Defendant(s)                                   Counsel for Defendant(s)



        /s/ Click here to enter text.                              /s/ Click here to enter text.
        Counsel for Defendant(s)                                   Counsel for Defendant(s)




1
  The parties need not include any trial-related matters in this statement. Following the motions filing
deadline and the resolution of any dispositive motions, if this case is still pending, the Court will file its
standard Order and Notice of Trial Preparation Requirements. After consulting with the parties, the Court
will issue a Trial Preparation Scheduling Order tailored to the needs of this case. That order will set the
pretrial conference and trial dates as well as deadlines for, amongst other matters, the submission of motions
in limine and the joint proposed pretrial order.


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